                                  Case 3:25-cv-00638-JR                                                      Document 1-1                                      Filed 04/18/25                                   Page  1 of 1
                                                                                                                                                                                                                FILED18 HPP '25 10:23USDC·IJRP
 JS 44 (Rev. 03/24)                                                                                  CIVIL COVER SHEET                                                                                   3 ! 26--Cf/, b3Y,SR
The JS 44 civil cover sheet and the info rm ation conta ined herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by loca l rules of court. This form , approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of ini tia ting the civil docket sheet. (SEE INSTRUC71ONS ON NEXT PAGE OF IBIS FORMJ
I. (a) PLAINTIFFS                                                                                                                                    DEFENDANTS
                                                                                                                                                     State of Oregon, Office of Governor, Department of Justice,
              VYACHESLAV STEVEN KIOROGLO
                                                                                                                                                     Ellen Rose nblum .Rep. for District 48,City of Portland, OR
     (b) County of Residence of First Li.sled Plaintiff                                                                                              County of Residence of First Listed Defendant
                                             (EXCEPT IN U.S. PLAINTlFF CASES)                                                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                     NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                   THE TRACT OF LAND INVOLVED.

     (c)      Attorneys (Firm Name, Address, and Telephone Number)                                                                                    Attorneys (If Known)

                                                                                                                                                     DAS risk.management@das.oregon .gov 503-378-4582
              SELF REPRESENTED
                                                                                                                                                     OMFjessica.bird@portlandoregon.gove 503-823-5256
II, BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                                         Ill CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X " inOneBa,forPlainti.ff
                                                                                                                                              (For Diversity Cases Only)                                                     and One Box/or Defendtint)
□1        U.S. Government                           03        Federal Question                                                                                         PTF                       DEF                                           PTF      DEF
            Plaintiff                                           (U,S. Government Not a Party)                                           Citizen of This State            J        O            D           Incorporated or Principa1 PJace          4     4    O            D
                                                                                                                                                                                                             of Business In This State

0    2    U.S. Government                           0    4    Diversity                                                                 Citizen of Another State                  0     2      □ 2         Incorporated and Principal Place                    □ 5          Os
            Defendant                                           (Indicate Citizenship ofParties in Item III)                                                                                                 of Business In Another State

                                                                                                                                        Citizen or Subject of a                   03           □ 3          Foreign Nation                                     □ 6          0    6
                                                                                                                                          Foreign CoWlliy
IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                                      Cli ck here for: Nature of Smt Code Descri tions.
               CONTRACT                                                                TORTS
                                                        PERSONAL INJURY                           PERSONAL INJURY                                                                                          422 Appeal 28 USC l 58                        37 5 False Claims Act



§
     11 0 Insurance
     120 Marine                                         310 Airplane                        D 365 Personal lnjwy •                                                                                         423 Withdrawal                                376 Qui Tam (31 USC
     130 Miller Act                                     315 Airplane Product                                            Product Liability                                                                         28 USC I 57                                 3729(a))
     140 Negotiable Instrument                              Liability                       O                  367 Health Care/                                                                                INTELLECTUAL                              400 State Reapportionment
     150 Recovery of Overpayment                        320 Assault, Libel &                                           Pharmaceutical                                                           I,c:c,--'"P-'"R""O""P""
                                                                                                                                                                                                                     E""R'"'T""Y""RI=-'G""HT
                                                                                                                                                                                                                                          =-aS'----t-~ 41 0 Antitrust
          & Enforcement of Judgn1en                         Slander                                                    Personal Injwy                                                                                                                    430 Banks and Bank ing
D    151 Medicare Act                                   330 Federal Employers '                                        Product Liability                                                                                                                 450 Commerce
0    152 Recovery of Defaulted                              Liabi lity                      D                  368 Asbestos Personal                                                                       835 Patent• Abbreviated                       460 Deportation
           Student Loans                                340 Marine                                                      Inj wy Product                                                                                                                   470 Racketeer Influenced and
           (Excludes Veterans)                          345 Marine Product                                              Liability                                                                                                                             Corrupt Organizations
D
0
     153 Reccvery of Overpayment
          of Veteran's Benefits
     160 Stockholders' Suits
                                                                   Liability
                                                            350 Motor Vehicle
                                                            355 Motor Vehicle
                                                                                            8                PERSONAL PROPERT Y 1-r-=-,-""L"-'AB=O~R;:.....,--,----t__J
                                                                                                               370 Other Fraud
                                                                                                               371 Truth in Lending
                                                                                                                                                                     71OFair Labor Standards
                                                                                                                                                                         Act
                                                                                                                                                                                                                 Act of2016
                                                                                                                                                                                                                                                         480 Consumer Credit
                                                                                                                                                                                                                                                              (15 USC 1681 or 1692)
                                                                                                                                                                                                                                                         485 Telephone Consumer
D    190 Other Contract                                           Product Liability         D                  380 Other Personal                                    720 Labor/Management       1----:s"'o:e-C::::IAL
                                                                                                                                                                                                                    = -s""E   ""C""URI
                                                                                                                                                                                                                                   = ""T"'Y , ,....--r-'      Protection Act
D    195 Contract Product Liability                         360 Other Personal                                         Property Damage                                   Relations                         861 HIA ( l395fl)                             490 Cable/Sat TV
D    196 Franchise                                               lnjwy                      D                  385 Property Damage                                   740 Railway Labor Act                 862 Black Lung (923)                          850 Securitie Commodities/
                                                            362 Personal lnjwy-                                        Product Liability                             751 Family and Medical                863 DIWC/DIWW (405(g))                             Exchange
                                                                 Medical Malpractice                                                                                     Leave Act                         864 SSID Title XVI                            890 Other Statutay Actions
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                                                                                                                                        ;;;I::;TI;.:.;;0..:..;;'--1~ 790 Other Labor Litigation            865 RSI ( 405(g))                             891 Agricultural Acts
     210 Land Condemnation                              x 440 Other Civil Rights                               H abeas Corpus:                                       791 Employee Retirement                                                             893 Environmental Matters
D    220 Foreclosure                                        441 Voting                                         463 Alien Detainee                                        Income Security Act    1 - - - - - - - - - - - - +-I 895 Freedom of Information


§D   230 Rent Lease & Ejectment
     240 Torts to Land
     245 Tort Product Liability
     290 All Other Real Property
                                                        442 Employment
                                                        443 Housing/
                                                            Accommodations
                                                        445 Amer. w/Disabilities -
                                                                                                  5 10 Motions to Vacate
                                                                                                       Sentence
                                                                                                  530 General
                                                                                                  535 Death Penalty
                                                                                                                                                                                              870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                    or Defendant)
                                                                                                                                                                                              87 1 IRS-Third Party
                                                                                                                                                                                                    26 USC 7609
                                                                                                                                                                                                                                                Act
                                                                                                                                                                                                                                            896 Arbitration
                                                                                                                                                                                                                                            899 Administrative Procedure
                                                                                                                                                                                                                                                Act/Review or Appeal of
                                                            Employment                            Other:                                                                                                                                        Agency Decision
                                                        446 Amer. w/Disabilities •                540 Mandamus & Other                                                                                                                      950 Constitutionality of
                                                            Other                                 550 Civil Rights                                                                                                                              State Statutes
                                                        448 Education                             555 Prison Coodition
                                                                                                  560 Civil Detainee -
                                                                                                      Conditions of
                                                                                                       Confinement
 V. ORIGIN (Place an "X " in One Box Only)
01        Original                02 Removed from                             □ 3           Remanded from                     D 4 Reinstated or D 5 Transferred from                                      0      6 Multidistricl                   0 8 Multidi.s tricl
          Proceeding                 State Court                                            Appellate Court                             Reopened                           Another District                        Litigation -                        Litigation -
                                                                                                                                                                           (specify)                               Transfer                            Direct File
                                                         Cite the U.S. C iv il Statute under which you are filing (Do 11 0 1 cite j urisdicti o11al s tatutes 11 11/ess diven·ity):
                                                         Title 42 and Title 29 of the United State Code. Tille V II of the Civil Rights Act of 1964(42 U.S .C.&2000e)
VI. CAUSE OF ACTION 1 - - - - - - - - - - - - - - - - - . . ; ; . . . _ - - - ' - - - - - - ' - - - - - - - --                                                                                                                                                       ---
                                                         Brief description of cause:
                                                         Discrimination and Breach of Public Trust in the court of the State of Oregon, because of experience com municating with Governmental agencies
 VII. REQUESTED IN  0   CHECK IF THJ S IS A CLASS ACTI0                                                                                     DEMAND$                                                    CHECK YES only if demanded in complaint:
      COMPLAINT:        UNDER RULE 23, F.R.Cv.P.                                                                                            10,000,00000                                               JURY DEMAND:         OYe.s     O No

 vm. RELATED CASE(S)
      IF ANY          (See instmcJions):
                                                                                             JUDGE
                                                                                                                 ----------------- DOCKET UMBER ------------
 DATE                                                                                             SIGNATURE OF ATTORNEY OF RECORD
 04/11/2025                                                                                      SELF REPRESENTED
 F OR OFFICE USE ONLY

     RECEIPT #                                AMOUNT                                                    APPLYING lFP                                                   JUDGE                                           MAG. JUDGE
